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      his official cqpacity as Attorney General of
  8   the State of California, and Luis Lopez,
      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                       IN THE UNITED STATES DISTRICT COURT
 11
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15   Matthew Jones, et al.,                         3:19-cv-01226-L-AHG
 16                                    Plaintiffs,
 17               v.                                 JOINT MOTION TO MODIFY
                                                     DEADLINE FOR CLOSE OF FACT
 18                                                  DISCOVERY
      Xavier Becerra, in his official capacity
 19   as Attorney General of the State of      Dept:             5B
      California, et al.,
20                                             Judge:            The Honorable M. James
                                  Defendants.                    Lorenz and Magistrate
21                                                               Judge Alison H~ Goddard
22                                                   Final Pretrial Conference
                                                     Date:         August 9, 2021
23
                                                     Action
24                                                   Filed:      July 1, 2019
25                                                   First Amended Complaint
                                                     Filed:     July 30, 2019
26
                                   Second Amended Complaint
27 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Filed:   November 8, 2019
28

              Joint Motion to Modify Deadline for Close of Fact Discovery (3:19-cv-01226-L-AHG)
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 1          Plaintiffs Matthew Jones, et al., and Defendants Xavier Becerra (in his
 2    official capacity as Attorney General of the State of California) and Luis Lopez (in
 3    his official capacity as Director of the Department of Justice Bureau ofFirearms), 1
 4    through their respective counsel of record, and pursuant to Civil Local Rules 7 .1 and
 5    7.2, hereby jointly move the Court for modification of the deadline for close of fact
 6    discovery set forth in the operative scheduling order in this matter. ECF No. 58.
 7    This joint motion is supported by the declaration of Jennifer E. Rosenberg, filed
  8   concurrently herewith. The parties previously sought one modification of the
  9   Court's original scheduling order; that modification moved all dates set forth in the
 10   Court's original scheduling order by approximately 5 to 6 weeks. See ECF Nos. 57,
 11   58. By contrast, this joint motion seeks only to extend the deadline for close of fact
 12   discovery to December 15, 2020, and does not seek to modify other dates set forth
 13   in the operative scheduling order. Good cause exists for the requested modification.
 14   I.         RELEVANT PROCEDURAL BACKGROUND

 15              Plaintiffs filed their initial complaint on July 1, 2019. ECF No. 1.
 16   Plaintiffs filed their First Amended Complaint for Declaratory and Injunctive Relief
 17   (FAC) on July 30, 2019 and served the FAC and summons on August 1, 2019. ECF
 18   No. 3; ECF No. 5 at 1, n.2. A case management conference was held before
 19   Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1, and thereafter,
 20   Plaintiffs filed a Second Amendment Complaint adding allegations related to
 21   amendments made to Penal Code§ 27510, the statute challenged in this matter, that
 22   Governor Newsom signed into law in October 2019, ECF No. 20.
 23         Plaintiffs then filed a motion for a preliminary injunction on November 12,
 24   2019, which Defendants opposed. ECF Nos. 21 & 25. Briefing was completed on
 25   the motion and related evidentiary objections in early February of this year, and the
 26   Court did not request a hearing on the motion. See ECF Nos. 52, 52-1, 53. The
 27          1
             Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Director
      Luis Lopez is automatically substituted as a defendant in this matter in place of his
 28   predecessor, former Acting Director Brent E. Orick.
                                                    1
                 Joint Motion to Modify Deadline for Close of Pact Discovery (3:19-cv-01226-L-AHG)
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 1    parties await a ruling on the preliminary injunction motion.
 2          In the Joint Case Management Statement the parties filed in advance of the
 3    October 9, 2019 case management conference with Magistrate Judge Goddard, as
 4    well as during the case management conference, the parties notified the Court that
 5    they planned to wait to conduct discovery until after resolution of Plaintiffs'
 6    preliminary injunction motion, and proffered the joint view that it would be
 7    premature to set a discovery schedule until after resolution of that motion. ECF No.
 8    11 at 13, 20, 22. Nonetheless, in accordance with the directions in Magistrate Judge
 9    Goddard's ENE order, the parties proposed in their Joint Case Management
10    Statement a set of discovery and pre-trial deadlines tied to resolution of the
11    preliminary injunction motion. Id. at 22-23 [the parties assuming at that time, for
12    purposes of proposing dates, that the preliminary injunction motion would be heard
13    and resolved in early 2020]. The Court issued its original scheduling order after the
14    case management conference; that order set the original date for close of fact
15    discovery at September 23, 2020. ECF No. 15.
16          In July 2020, the parties jointly sought modification of the Court's original
17    scheduling order on several grounds, including that the parties had originally wished
18    to wait to conduct discovery until after resolution of the preliminary injunction
 19   motion, and the need for the parties to.adjust the discovery process to the current
20    COVID-19 pandemic. ECF No. 57. The Court granted the parties' request, and
21    issued an order modifying the dates set forth in the original scheduling order.
22    ECF No. 58. Under that order, the close of fact discovery is currently set at
23    November 6, 2020. Id. at 3. Also under the modified schedule, expert designations
24    and reports are due January 8, 2021, and the exchange of rebuttal experts is set for
25    February 8, 2021. Id. at 4. The close of expert discovery is set for February 26,
26    2021. Id.
 27
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                                                     2
                  Joint Motion to Modify Deadline for Close of Pact Discovery (3:19-cv-01226-L-AHG)
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 1    II.     Goon CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
 2          Counsel for the parties have met and conferred, and agree that an extension of
 3    time on the close of fact discovery is warranted. The parties are in the midst of
 4    exchanging responses to discovery requests served by each side, and are working
 5    together to resolve any issues regarding the scope and form of discovery responses.
 6    Several depositions of Plaintiffs have been set in October and November 2020 or are
 7    in the process of being scheduled. The parties are also working together to ensure
 8    that depositions are conducted at reasonably convenient times for all involved,
 9    accommodating illness, school exams, and work schedules.
10          Simultaneously and unexpectedly, due to the pandemic and other factors, both
11    Defendants' counsel and Plaintiffs' counsel have been experiencing an unusually
 12   heavy caseload on this and other matters. All parties wish to ensure that they have
 13   adequate time to prepare their discovery responses with care and to prepare for
 14   depositions. In light of the outstanding discovery requests, scheduled depositions,
 15   and conflicts in the schedules of the parties and counsel, the parties agree that
 16   modifying the current scheduling order to provide 3 0 to 40 additional days for fact
 17   discovery will benefit all parties and help minimize the need to resort to the Court
 18   for resolution of discovery disputes. Therefore, the parties jointly request
 19   modification of the operative scheduling order to extend the deadline for close of
20    fact discovery from November 6, 2020, to December 15, 2020.
21
            The parties do not request modification of any of the remaining dates set forth
22
      in the Court's operative scheduling order.
23
 24
             WHEREFORE:
 25
            The parties hereby jointly request that the Court issue an order modifying the
 26
      date set for the close of fact discovery in the operative scheduling order as follows:
 27
 28
                                                   3
               Joint Motion to Modify Deadline for Close of Fact Discovery (3:19-cv-01226-L-AHG)
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  1    Action                          Current Deadline              New Deadline
  2    Close of fact discoverv         November 6, 2020              December 15, 2020
  3
             Although the parties do not anticipate seeking further modification in the
  4
      future, they also jointly request that the Court's order modifying the scheduling
  5
      order reserve the parties' ability to seek the Court's approval of further
  6
      modifications for good cause should the need to do so arise.
  7
             A proposed order will be lodged with the Court concurrently with submission
  8
      of this joint motion.
  9
 10
 11   Dated: October 27, 2020                          Respectfully Submitted,
 12                                                    XAVIER BECERRA
                                                       Attorney General of California
 13                                                    MARK BECKINGTON
                                                       Supervising Deputy Attorney General
 14
 15
 16
 17                                                    Deputy Attorney General
                                                       Attorneys for Def?ndants Xavier
 18                                                    BecerraJ zn his official cqpacity as
                                                       Attorney General of the State of
 19                                                    CaliforniaJ and Luis LopezJ in his
                                                       official capacity as Director of
 20                                                    tne Department of Justice Bureau of
                                                       Firearms              ·
 21
 22                                                    DILLON LAW GROUP, APC
 23
 24
 25
                                                       Attorney for Plaintiffs
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                Joint Motion to Modify Deadline for Close of Fact Discovery (3:19-cv-01226-L-AHG)
